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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                                  for the
                                                        Northern District
                                                     __________  District of
                                                                          of California
                                                                             __________

      CALIFORNIA COALITION FOR WOMEN                                                   )
  PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.;                                     )
  A.S.; and L.T., individuals on behalf of themselves                                  )
            and all others similarly situated
                                                                                       )
                            Plaintiff(s)                                               )
                                                                                       )
                                v.                                                                             Civil Action No. 4:23-cv-04155-YGR
                                                                                       )
UNITED STATES OF AMERICA FEDERAL BUREAU                                                )
    OF PRISONS, a governmental entity; et al.
                                                                                       )
                                                                                       )
                                                                                       )
                           Defendant(s)                                                )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) JOHN BELLHOUSE, in his individual capacity
                                           1972 E. Sandra Lane
                                           Pueblo West, CO 81007
                                           (also P.O. Box 8303, Pueblo, CO 81008)

                                           (Additional Defendants to be served pursuant to Fed. R. Civ. P. 4(i)(3) listed on
                                           Continuation Page)

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Kara J. Janssen
                                           Rosen Bien Galvan & Grunfeld LLP
                                           101 Mission Street, Sixth Floor
                                           San Francisco, CA 94105


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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              9/13/2023                                                                                                                         S. Campos
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Date:
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                                                                                                                            Signature of Clerk or Deputy Clerk
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 Civil Action No. 4:23-cv-04155-YGR

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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                               SUMMONS IN A CIVIL ACTION
                                   Continuation Page


To: (Names and addresses of additional defendants and representatives)
(continued)

              LAWRENCE GACAD, in his individual capacity
              3701 W. Corona Avenue
              Phoenix, AZ 85041

              ANDREW JONES, in his individual capacity
              1515 Zenith Place
              Clovis, CA 93619

              NAKIE NUNLEY, in his individual capacity
              2574 Rowe Court
              Fairfield, CA 94533

              PATRICK POOL, in his individual capacity
              401 Winchester Street
              Vallejo, CA 94590

              STEPHEN PUTNAM, in his individual capacity
              324 W. Harding Road
              Turlock, CA 95380

              DENZIL SHIRLEY, in his individual capacity
              101 Canal Drive
              Oroville, CA 95966

              DARRYL SMITH, in his individual capacity
              471 Tiger Hammock Road
              Crawfordville, FL 32327

              LEA VASQUEZ, in her individual capacity
              3115 Finnian Way, Apt. 331
              Dublin, CA 94568




[4355437.1]
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              ISMAIL J. RAMSEY
              United States Attorney for the Northern District of California
              United States Attorney’s Office
              450 Golden Gate Avenue, 11th Floor
              San Francisco, CA 94102
              (Served Pursuant to Fed. R. Civ. P. 4(i)(1)(A)(i))

              MERRICK B. GARLAND
              Attorney General of the United States
              U.S. Department of Justice
              950 Pennsylvania Ave., NW
              Washington, DC 20530-0001
              (Served Pursuant to Fed. R. Civ. Pr. 4(i)(1)(B))




[4355437.1]
